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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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Case 6:12-ap-01239-DS   Doc 1 Filed 06/29/12 Entered 06/29/12 11:37:43   Desc
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